       Case 5:12-cv-05726-PAC Document 209 Filed 03/30/22 Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                               :
JOANN FONZONE,                                 :
Plaintiff,                                     :
        v.                                     :   CIVIL ACTION
                                               :   No. 12-5726
JOE OTERI, et al.,                             :
Defendants.                                    :
                                               :
                                               :


                                      UU   ORDER

      AND NOW, this _________ day of __________________, 2022, upon consideration of

Plaintiff Joann Fonzone’s Submission in response to the Court’s Rule to Show Cause and

Defendants’ responses thereto, it is HEREBY ORDERED that Plaintiff’s case is hereby

DISMISSED WITH PREJUDICE for lack of prosecution.




                                           BY THE COURT:
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    :
 JOANN FONZONE,                                     :
                                Plaintiff,          :
        v.                                          :     CIVIL ACTION
                                                    :     No. 12-5726
 JOE OTERI, et al.,                                 :
 Defendants.                                        :
                                                    :
                                                    :


               DEFENDANT’S AMENDED RESPONSE TO THE COURT’S
               RULE TO SHOW CAUSE FOR FAILURE TO PROSECUTE

       Defendant, Christopher Bee, by and through the undersigned counsel, hereby files this

Response Requesting Dismissal of Plaintiff’s lawsuit for Failure to Prosecute pursuant to Rule

41(b) of the Federal Rules of Civil Procedure. In support thereof, Moving Defendant adopts,

joins in, and incorporates by reference the same as though it was fully set forth herein at length

the Memorandum of Law filed on behalf of Co-Defendants CITY OF PHILADELPHIA,

OFFICER KELECHEWISCKY, OFFICER KOVAC, LESINETTE ORTIZ. Moving Defendant

respectfully requests that this Court dismiss Plaintiff’s claims against him with prejudice.

Date: March 30, 2022                                    JAMES J. BINNS, ESQUIRE
                                                        1125 Walnut Street
                                                        Philadelphia, PA 19107
                                                        P: 215-275-3000
                                                        F: 215-922-4001
                                                        James@jamesbinns.net
                                                        Attorney for the Defendant, Christopher Bee
                                                        /s/ James J. Binns
                                              BY:

                                                        James J. Binns, Esquire
         Case 5:12-cv-05726-PAC Document 209 Filed 03/30/22 Page 3 of 5




                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 JOANN FONZONE,                                    :
                               Plaintiff,          :
        v.                                         :     CIVIL ACTION
                                                   :     No. 12-5726
 JOE OTERI, et al.,                                :
 Defendants.                                       :
                                                   :
                                                   :


       AMENDED MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S
       RESPONSE AND MOTION TO DISMISS FOR FAILURE TO PROSECUTE

       Defendant, Christopher Bee, by and through the undersigned counsel, hereby files this

Response Requesting Dismissal of Plaintiff’s lawsuit for Failure to Prosecute pursuant to Rule

41(b) of the Federal Rules of Civil Procedure. In support thereof, Moving Defendant adopts,

joins in, and incorporates by reference the same as though it was fully set forth herein at length

the Memorandum of Law filed on behalf of Co-Defendants, CITY OF PHILADELPHIA,

JAMES KISIELEWSKI, LISENETTE ORTIZ AND MARK KOVACS.

  I.   CONCLUSION

   For the reasons set forth, Defendant, Christopher Bee, hereby requests that this Court dismiss

all claims asserted against him with prejudice.

Date: March 30, 2022
                                                       JAMES J. BINNS, ESQUIRE
                                                       1125 Walnut Street
                                                       Philadelphia, PA 19107
                                                       P: 215-275-3000
                                                       F: 215-922-4001
                                                       James@jamesbinns.net
                                                       Attorney for the Defendant, Christopher Bee
Case 5:12-cv-05726-PAC Document 209 Filed 03/30/22 Page 4 of 5




                                  /s/ James J. Binns
                            BY:

                                  James J. Binns, Esquire
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                  :
 JOANN FONZONE,                                   :
                               Plaintiff,         :
         v.                                       :     CIVIL ACTION
                                                  :     No. 12-5726
 JOE OTERI, et al.,                               :
 Defendants.                                      :
                                                  :
                                                  :


                           AMENDED CERTIFICATE OF SERVICE

        I hereby certify that on the date below, the Defendant’s Amended Motion has been filed

on ECF and is available for viewing and downloading by all parties. A copy will also be sent via

first class mail to:

        Joann Fonzone
        631 Primrose Lane
        Allentown, PA 18104


Date: March 30, 2022
                                                      JAMES J. BINNS, ESQUIRE
                                                      1125 Walnut Street
                                                      Philadelphia, PA 19107
                                                      P: 215-275-3000
                                                      F: 215-922-4001
                                                      James@jamesbinns.net
                                                      Attorney for the Defendant, Christopher Bee

                                                      /s/ James J. Binns
                                            BY:

                                                      James J. Binns, Esquire
